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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA :
                                             :       CASE NO. 21-cr-381 (TSC)
               v.                            :
                                             :
STACY WADE HAGER,                            :
                                             :
                      Defendant.             :


               NOTICE OF PARTIES’ JOINT PROPOSED EXHIBIT LIST

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, together with the Defendant, Stacy Wade Hager, jointly submit the

attached exhibit list as required by this Court in its February 17, 2023 Minute Order.

                                             Respectfully Submitted,

                                             MATTHEW M. GRAVES
                                             United States Attorney
                                             D.C. Bar No. 481052

                                      By:    /s/ Adam M. Dreher
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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      :
                                              :       CASE NO. 21-cr-381 (TSC)
             v.                               :
                                              :
STACY WADE HAGER,                             :
                                              :
                       Defendant.             :

                       PARTIES’ JOINT PROPOSED EXHIBIT LIST

      The parties have identified the following exhibits they may use at the trial.

Exhibit           Description of Exhibit
Number
100 Series        “Government Business” Documentary/Video evidence
101               Congressional Record - Senate (Vol. 167, No. 4, S13, S14, S18)
102               Congressional Record - House (Vol. 167, No. 4, H75, H76, H84, H85)
103               Cong-4 Video Montage with Congressional Record.mp4
104               20.14 Closure of West Front
105               Restricted Perimeter.pdf
106               Signs posted Jan 5.png
107               Area Closed Sign
108               Drawing of Capitol Building First Floor
109               Drawing of Capitol Building Second Floor

200 Series        Cell phone
201               20210106_091429.jpg
202               20210106_091436.jpg
203               20210106_091456.jpg
204               20210106_091458.jpg
205               20210106_091459.jpg
206               20210106_091511.jpg
207               20210106_091515.jpg
208               20210106_091545.jpg
209               20210106_091607.jpg
210               20210106_091610.jpg
211               20210106_093804.jpg
212               20210106_093809.jpg
213               20210106_094855.jpg
214               20210106_094900.jpg

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Exhibit         Description of Exhibit
Number
215             20210106_094904.jpg
216             20210106_094924.jpg
217             20210106_095811.jpg
218             20210106_095816.jpg
219             20210106_095819.jpg
220             20210106_095840.jpg
221             20210106_100102.mp4
222             20210106_114936.mp4
223             20210106_125451.mp4
224             20210106_125503.mp4
225             20210106_135439.mp4
226             20210106_135505.jpg
227             20210106_135514.jpg
228             20210106_135524.mp4
229             20210106_141111.mp4
230             20210106_141236.mp4
231             20210106_141705.mp4
232             20210106_141723.mp3
233             20210106_142145.mp4
234             20210106_142158.mp4
235             20210106_142948.jpg
236             20210106_142951.jpg
237             20210106_142954.mp4
238             20210106_143421.mp4
239             20210106_145959.mp4
240             20210102_122244.jpg
241             20210106_091546
242             20210106_144321.jpg
243             20210106_154452.jpg
244             20210106_154539.jpg
245             January 7 text exchange “Mark” and Hager
246             Text exchange Dec 29 “Kelly” and Hager
247             Text exchange January 2 “Jeff” and Hager
248             Text Exchange to Minyard January 6, 2021

300 Series      Secret Service Exhibits
301             HOS Notification – Visit of Vice President Michael Pence Mrs. Pence and Charlotte
                Pence to the U.S. Capitol (S-214_House and Senate Floors) on Wednesday January 6
                (PDF)
302             USSS HOS Notification – Vice President Pence 01.06.21 9 (REDACTED) (PDF)


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Exhibit         Description of Exhibit
Number


400 Series      Facebook Results
401             Pg 1-2 User information
402             Pg 157-159
403             Pg 104 Recognized Devices
404             Pg 219-222 “BERE WITNESS ANYWAYS”
405             1/10/2021
406             Pg 239 “2020-11-13: Pardon me while . . .”
407             Pg 2832 – 2845 “Be gone socialist”
408             Pg 2857-2858 “all I can say is wow”
409             Pg 2860-2863 “Greatest thing” “Took the hill”
410             Pg 2869-2871 “What to wear to big dance”
411             Pg 2877 “Behind enemy lines”
412             Pg 2971-72 “New Congress” “Great Purge”
413             Pg 611 “Always knew Pence had option” 2-25-2021
414             Pg 818 “Today, the electoral college votes” 12-15-2020

500 Series      Physical Items
501             Flag with Flagpole
502             Tan metal tumbler
503             Black and Gray jacket
504             Gray shoes
505             Placeholder for Additional Exhibits

600 Series      Body-worn Camera
601             Travis Coley BWC
602             Alexander Farley BWC

700 Series      Capitol Surveillance
701             Upper West Terrace Door Approximately 19:33:30 to 19:35
702             Upper West Terrace Hall Approximately 19:33:30 to 19:36
703             Rotunda North Approximately 19:35:30 to 19:38
704             Supreme Court Chamber Stairs Approximately 19:39 to 19:40
704             Crypt East Approximately 19:40 to 19:40:30
705             Memorial Door Approximately 19:40 to 19:44
706             House Wing Door Approximately 19:42 to 19:44
707             Hall of Columns South Door Approximately 19:42 to 19:47




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